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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                             Richmond Division

KNIGHTS OF COLUMBUS, COUNCIL 694,         )
                                          )
                  Plaintiff,              )
      v.                                  )    No. 3:24-cv-363-JAG
                                          )
NATIONAL PARK SERVICE, et al.,            )
                                           )
                  Defendants.              )
__________________________________________


  DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
  MOTION FOR A TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                         INJUNCTION




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                                           INTRODUCTION

        Plaintiff Knights of Columbus, Council 694 (“KOC”) holds a yearly Memorial Day Mass.

While professing that it has historically held this Mass at Poplar Grove National Cemetery, (hereinafter

“the Cemetery”), KOC has also held this Mass in its Council Home, proposed holding it in different

cemeteries altogether, and for the last two years has been permitted to hold this mass just outside of

the grave site area at the Cemetery. KOC now seeks an extraordinary affirmative injunction allowing

KOC to hold its Mass in front of grave sites on Memorial Day 2024 and enjoin the National Park

Service (“NPS”) from applying religiously and viewpoint neutral regulations aimed at maintaining the

atmosphere of solemn tranquility at the Cemetery. KOC’s arguments in its Motion for a Temporary

Restraining Order and Preliminary Injunction and its accompanying Memorandum are unavailing, and

KOC is not entitled to either a temporary restraining order or preliminary injunction. See ECF No. 8

(hereinafter “Motion”); see also ECF No. 9 (“Memorandum” or “Mem.”).

        First, KOC cannot show a likelihood of success on the merits of its claims. KOC does not

show a likelihood of success under the Free Exercise Clause of the First Amendment as the application

of generally applicable NPS regulations and policy neither coerces or burdens its beliefs nor constitutes

a specific targeting of KOC’s religious beliefs. Likewise, KOC’s claim under the Religious Freedom

Restoration Act (“RFRA”) is not likely to succeed. KOC’s religious beliefs are not substantially

burdened and NPS has a compelling interest in maintaining the solemnity of the Cemetery—

particularly where KOC seeks to hold a 45-person gathering with a Bluetooth speaker at a tent on

Memorial Day within an area that all visitors to the Cemetery must traverse. Indeed, while KOC

reflexively asserts that its religious beliefs are burdened, it offers no specifics of why its religious beliefs

compel it to hold a Memorial Day Mass in a specific location in the Cemetery and why an alternative

adjacent location within the Cemetery’s grounds cannot comport with its beliefs—particularly where

KOC has held its Mass outside of cemetery grounds. And KOC makes only cursory arguments that

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its inability to hold the specific Mass it desires violates the Free Speech Clause of the First Amendment

and is unlawful agency action under the Administrative Procedure Act (“APA”). It is neither.

          Second, KOC cannot show irreparable harm. KOC’s prior conduct in holding its Mass

elsewhere highlights that the harm in not being able to hold a Memorial Day Mass near the grave sites

at the Cemetery is not irreparable. Moreover, the availability of alternative forms of worship available

to KOC, including being permitted to hold its ceremony at an alternative location at the Cemetery

highlight that its harm is anything other than irreparable.

          Finally, KOC cannot show that the public interest and equities support the issuance of a

mandatory injunction altering the status quo. NPS has a well-recognized interest in the maintenance

of the national cemeteries under its care, and the Fourth Circuit itself has recognized its interest in

ensuring the tranquility and solemnity of national cemeteries. By seeking an affirmative injunction to

alter NPS’s application of its neutral regulations in the Cemetery, KOC’s sought injunction is not in

the public interest.

          For all these reasons, Defendants respectfully request that the Court deny KOC’s Motion.

                                     FACTUAL BACKGROUND

     i.      KOC and The Cemetery.

          Plaintiff Knights of Columbus, Council 694, is a local council of the Knights of Columbus, a

Catholic fraternal service order, headquartered in Petersburg, Virginia. ECF No. ¶ 6 (“Compl.”).

According to its materials, KOC holds an annual Memorial Day Mass in the Cemetery in accordance

with its religious beliefs. 1 The Cemetery is an inactive national cemetery located near Petersburg,



1
  KOC does not explain further why its religious beliefs require that a Mass be held in the Cemetery
specifically. At best, KOC appends a resolution that it adopted in 2024, which asserts “that holding
[its] religious memorial service in the national cemetery aids and helps [it] pray for the fallen, and that
failure to hold the service in the national cemetery would diminish [its] ability to pray for the fallen.”
ECF No. 1-4. KOC’s resolution, however, provides no explanation of why it is inconsistent with its
sincerely held religious beliefs to hold its Mass elsewhere on the grounds of the Cemetery.
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Virginia where some 6,000 U.S. soldiers are buried, including individuals who lost their lives in the

United States Civil War, the Spanish American War, World War I, World War II, and the Korean War.

See Poplar Grove National Cemetery, National Park Service (last updated Feb. 7, 2024),

https://www.nps.gov/places/poplar-grove-national-cemetery.htm. Since 1933, the Cemetery has

been under the administration of the National Park Service (“NPS”). Id.

           KOC alleges that “[m]ost years, the mass has been celebrated in a gazebo with participants on

a grass lawn, adjacent to the gravesites” located at the Cemetery. Compl. ¶ 23. However, KOC itself

notes that it has held its Mass in alternative locations. Within the Cemetery itself, KOC acknowledges

that it was once asked to relocate to hold its Mass elsewhere. Id. ¶¶ 23-24. KOC also acknowledged

that it held services outside of the Cemetery while it was under renovation for several years. ECF No.

1-10 at 5; see also Mem. at 12. Furthermore, in 2016, KOC planned to hold its memorial Mass at the

Blandford Cemetery Bandstand before ultimately holding its service at its Council Home. 2 And in

2023, KOC decided not to hold its service at the cemetery due to weather related concerns and instead

held its service at its Council Home, which is not on the premises of the Cemetery. See ECF No. 1-10

at 3; see also Compl. ¶ 39. To NPS’s knowledge, KOC is the only group that has ever been permitted

to conduct a demonstration or special event at the Cemetery. EX. 1 ¶ 20.

     ii.      KOC’s 2023 Permit to Hold Its Mass in the Cemetery.

           As relevant to the instant lawsuit, KOC submitted to NPS an application for a permit to hold

a Mass near the grave sites at the Cemetery on April 27, 2023 and sought to hold its Mass on Memorial

Day 2023. ECF No. 1-2 at 9-12. A permit for KOC’s Mass was then approved on May 15, 2023. ECF

No. 1-2 at 8. After further follow-up, on May 17, 2023, Chief Ranger Scott e-mailed KOC Treasurer

Tetreault, informing him that there was a “Directors Order concerning National Cemeteries that is


2
 The Blandford Cemetery is administered by the Commonwealth of Virginia rather than the NPS. See
Blandford    Cemetery,     City   of     Petersburg  (last   accessed     May      21,   2024),
https://www.petersburgva.gov/303/Blandford-Cemetery.
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applicable to this situation,” and then noting that KOC’s request to hold its Mass at its previous site

in the Cemetery was not permissible. ECF No. 1-2 at 4-5. As Mr. Scott explained, special events or

demonstrations were prohibited at national cemeteries on Memorial Day apart from official

commemorative events as per NPS Policy Memorandum 22-01. Id. at 5; see also ECF No. 1-3.

However, Mr. Scott also noted that a NPS superintendent could consider whether a demonstration

could occur outside of a national cemetery in a designated First Amendment area and offer that as an

alternative. ECF No. 1-2 at 5. Accordingly, Mr. Scott provided KOC with a new permit designating a

special “first amendment area” at the Cemetery where KOC could hold its Mass. Id. at 4-5. KOC

subsequently executed the permit that would allow it to hold a Mass at the First Amendment area in

the Cemetery, id. at 1-3, but nonetheless chose to hold its service at its Council Home. ECF No. 1-10

at 3; ECF No. 9-1 ¶ 52.

   iii.      KOC’s 2024 Permit to Hold Its Mass in the Cemetery.

          On March 8, 2024, Mr. Tetreault submitted a request for KOC to hold its Memorial Day Mass

at the Cemetery. ECF No. 1-6 at 3-4. In describing the proposed activity, KOC’s application noted

that it was requesting a permit for an “annual Memorial Day memorial service in the Cemetery on

Monday, May 27, 2024” whereby “[t]enting and chairs for the service w[ould] be set up on the asphalt

area by the building just inside the cemetery walls.” ECF No. 1-5 at 2. KOC’s completed application

noted that its event would last from 9:00 AM to 12:00 PM and would involve 45 participants and need

parking for 15 cars. Id. KOC’s application noted that it would need three tables, 50 chairs, a tent, and

Bluetooth speaker as support equipment. Id. Mr. Scott responded to the e-mail submitting the request

on May 2, 2024, noting that an official event was scheduled at the same location proposed by KOC

and that, as NPS had in 2023, it could offer KOC a permit for its Mass on “the large grass area adjacent

to the parking lot at Poplar Grove to conduct [its] activity.” Id. Mr. Scott further noted that because

of the existing event at the Cemetery, KOC’s “event and clean-up . . . would have to be completed by

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noon [on Memorial Day] to avoid conflict with the other scheduled activity.” Id. The event referenced

by Mr. Scott is an official commemorative event for Memorial Day being held at the Special Use Area

of the Cemetery where high attendance is expected and the ceremony will include, inter alia,

commemorative reading and the decorating of graves at the Cemetery. EX. 1 ¶ 9.

        On May 9, 2024, Mr. Tetreault responded to Mr. Scott’s e-mail and claimed that it was

important to KOC to have its event “inside the cemetery itself, not outside the cemetery somewhere”

while claiming that KOC “always had it there every year since at least the 1960s or before.” ECF No.

1-5 at 2. On Monday, May 13, 2024, counsel for KOC sent a letter to the NPS requesting that it grant

KOC’s request to conduct its Memorial Day Mass within the walls of the Cemetery, threatening

litigation, and requesting a response to the letter by May 17, 2024. ECF No. 1-7. On May 16, 2024,

Mr. Scott wrote to Mr. Tetreault of KOC and attached a permit that allowed KOC’s “religious service

on May 27, 2024 from 9:00 a.m. until 12:00 p.m.” ECF No. 1-8. That same letter noted that the

permitted location was “directly outside of the cemetery within proximity to the gravesites” and

“offered as a reasonable alternative to [KOC’s] requested location inside the cemetery as 36 CFR §

12.4 prohibits demonstrations within the National Cemetery.” Id. The permit attached to the letter

included a map on which the area permitted was shown as a red box to the left of the cemetery wall,

showing a designated area still on NPS property but not within the Cemetery proper. ECF No. 1-9 at

6; see also EX. 1 ¶ 11, 18.

        As the Superintendent for the Petersburg National Battlefield has attested, KOC’s desired

location for its permit was not granted because KOC’s activity was determined to be a

“demonstration” in light of governing “NPS regulations and policy emphasizing the importance of

maintaining the atmosphere of solemn tranquility at the Cemetery.” EX. 1 ¶¶ 17-18. Specifically, the

Superintendent found that KOC’s description of the event fit within NPS’s definition of a

demonstration under its own regulations and guidance as KOC itself noted it needed a Bluetooth

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speaker to amplify sound as well as other equipment and anticipated a number of cars that exceeded

available parking. Id. ¶ 17. Furthermore, KOC’s desired location was in a location whereby any visitor

to the Cemetery would have to pass in entering the Cemetery, thus making it foreseeable that KOC’s

activity would attract onlookers. Id. ¶ 18.

        NPS subsequently responded to the letter submitted by KOC’s counsel on May 17, 2024,

explaining the basis for its determination that KOC’s service constituted a “demonstration” that would

not be permitted within the grounds of the Cemetery by regulation and explaining the rationale echoed

by the Superintendent. ECF No. 1-10 at 2-3. NPS then further explained that its decision was

consistent with respect to a similar request made by another KOC chapter to hold a Memorial Day

Mass inside the Andersonville National Cemetery in Georgia. Id. As with NPS’s decision for the

Cemetery, NPS would only offer a permit for that separate KOC chapter to hold a religious service

outside of the cemetery boundary at Andersonville National Cemetery. Id.; see also EX. 2 ¶¶ 11, 13. 3

                                REGULATORY BACKGROUND

        The Cemetery is one of 14 national cemeteries managed by NPS. “National Cemetery

Regulations,” 51 Fed. Reg. 8976, 8976 (Mar. 14, 1986). In 1986, following an agreement with the

Department of Veterans Affairs that NPS would manage and operate these 14 cemeteries, NPS issued

regulations regarding the maintenance and operation of the cemeteries. Id. at 8976. As that regulation

sets out: “National cemeteries are established as national shrines in tribute to the gallant dead who

have served in the Armed Forces of the United States.” 36 C.F.R. § 12.2. To further the goal of

maintaining the solemn commemorative and historical character of these areas, NPS prohibits

“demonstrations” and “special events” within the confines of a national cemetery. 36 C.F.R. § 12.4;.

Read in full, NPS regulations establish that:

        Conducting a special event or demonstration, whether spontaneous or organized, is prohibited
3
 Defendants understand that the Georgia KOC chapter will hold its Memorial Day Mass at a
church rather than at Andersonville National Cemetery. See EX. 2 ¶ 16.
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        except for official commemorative events conducted for Memorial Day, Veterans Day and
        other dates designated by the superintendent as having special historic and commemorative
        significance to a particular national cemetery. Committal services are excluded from this
        restriction.

Id. § 12.4. The current regulations define “demonstration” as “picketing, speechmaking, marching,

holding a vigil or religious service, or any other like form of conduct that involves the communication

or expression of views or grievances, engaged in by one or more persons, the conduct of which is

reasonably likely to attract a crowd or onlookers.” Id. § 12.3. A “special event” under the regulation is

similarly defined, but unlike “a demonstration” is reserved to conduct that does not have any type of

expressive message (e.g., “sports event, pageant, celebration, historical reenactment, entertainment,

exhibition, parade, fair, festival, or similar activity”). Id. Combined, these restrictions “prohibiting

special events and demonstrations within national cemeteries reflects the substantial government

interest that exists in maintaining this protected atmosphere where individuals can quietly

contemplated and reflect upon the significance of the contributions made to the nation by those

interred.” 51 Fed. Reg. at 8977.

        Since their promulgation, NPS amended the regulations in 2014 to clarify, inter alia, the

definition of “demonstration.” EX. 3 ¶ 5. In general, the 2014 amendments eliminated the previous

requirement that two or more individuals have the “intent to . . . to attract a crowd or onlookers.”

Compare 51 Fed Reg. at 8979, with 36 C.F.R. § 12.3. These technical amendments also reaffirmed the

regulations’ original purpose for preserving the tranquil atmosphere and doing so by restricting

“special events” and “demonstrations.” See generally “National Cemeteries, Demonstration, Special

Event,” 79 Fed. Reg. 33434, 33434-35 (June 11, 2014).

        On August 15, 2022, NPS then issued a guidance memorandum directed to all Regional

Directors and Superintendents of National Cemeteries regarding the enforcement of these regulatory

provisions. See generally ECF No. 1-3. The guidance was borne out of concerns that several parks were

having in managing activities at national cemeteries and to ensure consistent implementation of NPS’s
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regulations. EX. 3 ¶ 7. That guidance clarified that activities that qualify as “demonstrations” under

the regulation are prohibited “without exception,” ECF No. 1-3 at 3, and that activities which qualify

as “special events” are permitted in “limited circumstances”—i.e., when the special event is

“sponsored or co-sponsored by the NPS,” id. at 4. To determine whether an activity is a

“demonstration” or “special event,” the Superintendent of each cemetery performs a two-part

analysis: “(1) whether the activity involves communication or expression of views or grievances; and

(2) whether the activity is likely to attract a crowd or onlookers.” Id. at 2. The first analysis, whether

the activity is heard or not, turns on whether “communication or expression of views is the primary

purpose of the activity.” Id. at 2-3. The second analysis, without “consider[ing] the content of any

communication or expression,” turns on whether the activity “is reasonably likely to attract a crowd

or onlookers.” Id. at 3. In making this assessment, “the volume of the communication or expression

of views, and whether amplification, signs, props, or other items are being used” may be considered.”

Id. at 3. Further, “a presumption that activity is reasonably likely to attract a crowd or onlookers,” for

those activities that use “amplification and structures, such as stages.” Id. at 3. If both showings are

met, the activity is a prohibited “demonstration,” and if only the second showing is met, the activity

qualifies as a “special event.” See id. at 3, 5.

        Though “special events” sponsored or co-sponsored by NPS are permitted, the guidance

reminds enforcing officials that the regulations cabin their discretion regarding their ability to add

additional dates for commemorative events. Id. at 4. Indeed, special events “may only be conducted

for Memorial Day, Veterans, Day and other dates designated by the superintendent as having special

historical and commemorative significance to a particular national cemetery.” Id. The reason for such

a circumscribed set of events is because that is what NPS has determined as the “maximum extent

that this protected atmosphere [national cemeteries] should be disturbed” given that “ample

opportunities exist for persons desiring to conduct special events and demonstrations in areas adjacent

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to or near the national cemeteries.” Id. at 2.

        Of course, for any activity that is not a permitted “demonstration” or “special event,” NPS

guidance provides that “the superintendent should evaluate whether the demonstration could occur

outside of the national cemetery in a designated First Amendment area, and, if so, offer that as an

alternative.” Id. at 3; see also id. at 5 (similar provision for unsponsored “special events”).

                                              ARGUMENT

     Plaintiff Fails to Show that It Satisfies the Four Factors to Justify Injunctive Relief.

        “[P]reliminary injunctions are extraordinary remedies involving the exercise of very far-

reaching power to be granted only sparingly and in limited circumstances.” MicroStrategy Inc. v. Motorola,

Inc., 245 F.3d 335, 339 (4th Cir. 2001) (citation omitted). To obtain a preliminary injunction, KOC

must make a “clear showing” of each of the four factors: (1) a likelihood of success on the merits; (2)

irreparable harm in the absence of preliminary injunctive relief; (3) that the balance of equities tips in

their favor; and (4) that the public interest favors the requested equitable relief. Winter v. NRDC, 555

U.S. 7, 20 (2008); see also Sarsour v. Trump, 245 F. Supp. 3d 719, 728 (E.D. Va. 2017) (““The standard

for granting either a TRO or a preliminary injunction is the same.”).

        “Ordinarily, preliminary injunctions are issued to protect the status quo and to prevent

irreparable harm during the pendency of a lawsuit ultimately to preserve the court’s ability to render a

meaningful judgment on the merits.” See Perry v. Judd, 471 F. App’x 219, 223 (4th Cir. 2012). KOC

here, however, does not seek a preliminary injunction solely for its generally intended purpose—to

maintain the status quo. Instead, KOC seeks the extraordinary and disfavored relief of a “mandatory”

injunction asking this Court to preclude Defendant from being able to enforce NPS policy already in

effect and allow KOC the ability to gather at a part of the Cemetery where the organization has not

been permitted to assemble. See Taylor v. Freeman, 34 F.3d 266, 270 n.2 (4th Cir. 1994).

        To obtain this extraordinary and disfavored relief, courts require “a heightened showing of the


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four factors.” RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1209 (10th Cir. 2009); Vollette v. Watson, 2012

WL 3026360, at *3 (E.D. Va. July 24, 2012) (explaining that the Winter standard “becomes even more

exacting” for mandatory injunctive relief). As shown below, KOC cannot muster a regular showing—

let alone a heightened showing—of the four factors required for a preliminary injunction.

        A.      Factor 1: KOC cannot show it is likely to succeed on the merits.

        No injunction should issue to KOC because it cannot establish that it has a “clear and

convincing probability of success” on the merits on the claims that it brings in its Complaint. Cornwell

v. Sachs, 99 F. Supp. 2d 695, 704 (E.D. Va. 2000).

                1.      KOC Is Unlikely to Succeed on Its Free Exercise Claim.

        The Free Exercise Clause’s protections, see U.S. Const. amend. I, “pertain if the law at issue

discriminates against some or all religious beliefs or regulates or prohibits conduct because it is

undertaken for religious reasons.” Church of the Lukumi Bablu Aye, Inc. v. City of Hialeah, 508 U.S. 520,

532 (1993) (“Lukumi”). Here, KOC’s Free Exercise claim is not likely to succeed because: (1) it has

not established a burden on its religion; and (2) assuming there a burden caused by NPS’s regulation,

it done by a constitutionally permissible neutral and generally applicable regulation.

                        a.      NPS’s Prohibition of Demonstrations Within the Cemetery Does
                                Not Coerce KOC into Surrendering its Religious Beliefs.

        “[R]egardless of the specific nature of the government action at issue, a plaintiff alleging a free

exercise claim bears the burden of demonstrating an infringement of his rights under the Free Exercise

Clause.” Mahmood v. McKnight, 2024 WL 2164882 at *7 (4th Cir. May 15, 2024) (cleaned up) (quoting

Kennedy v. Bremerton Sch. Dist., 597 U.S. 507, 524 (2022)). Should KOC meet this threshold burden, “the

focus then shifts to the defendant to show that its actions were nonetheless justified and tailored

consistent with the demand of [Supreme Court] case law.” Kennedy, 597 U.S. at 524 (emphasis added).

A plaintiff does not establish a burden where the “incidental effects of government programs, which

may make it more difficult to practice certain religions, but which have no tendency to coerce

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individuals into acting contrary to their religious beliefs.” Lyng v. Nw. Indian Cemetery Prot. Ass’n, 485

U.S. 439, 450-451 (1988). Instead, the plaintiff must show either: (1) that it must surrender its religious

character or beliefs to participate in the government program; or (2) be compelled to an action,

through direct or indirect government coercion, that is inconsistent with its beliefs. See Mahmood, 2024

WL 2164882, at *9; Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 449, 466 (2017).

        KOC cannot make this showing in this case. NPS is not coercing action from KOC; it is

merely conditioning entry to the Cemetery to those persons who are not conducting a

“demonstration” or “special event” within the meaning of its regulations. See Mahmoud, 2024 WL

2164882, at *10 (affirming the denial of preliminary injunction where statute did not impose a burden

because a school district did not require students to change religious views in the teaching of reading

material). KOC can (and has) conducted a Memorial Day Mass at other cemeteries and at locations

that are not a cemetery at all and did so without renouncing or disavowing its religious beliefs. EX. 4.

Thus, not being permitted to conduct a Mass within the Cemetery does not require KOC to renounce

or otherwise alter its religious beliefs.

        Moreover, the regulation preventing KOC’s proposed use of the Cemetery does not operate

along religious lines. The regulation is clear: all “demonstrations”—secular and religious alike—are

categorically prohibited from occurring in the Cemetery. See 36 C.F.R. § 12.4. Thus, unless KOC

eliminates both the communication of any message/views in its requested event and the aspects of its

requested event that are likely to draw a crowd or onlookers (i.e., stage, sound system, tent), NPS

regulations prohibit such conduct in the Cemetery “without exception.” ECF No. 1-3 at 3; see also See

Trinity Lutheran, 582 U.S. at 462 (holding that Missouri’s scrap-tire program was unconstitutional

because it disqualified eligible recipients for benefits based solely on their religious nature and required

them to “participate in an otherwise available benefit program or remain a religious institution”).

        The Supreme Court’s seminal decision in Lyng underscores this conclusion. There, the

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Supreme Court addressed a Free Exercise challenge to the federal government’s decision to engage in

timber harvesting and road construction on a particular tract of federal land. 485 U.S. at 450-451.

Native American tribes challenged that decision because the federal land at issue has been used “for

a very long time, to conduct a wide variety of specific rituals that aim to accomplish their religious

goals,” and the federal government’s proposed development “could have devasting effects on

traditional Indian religious practices.” Id. at 451.

        Even under the assumption that the Native American tribes would be unable to practice their

faiths if the government’s proposed land development came into fruition, Lyng held that the proposed

development was constitutional because there was no showing that “the affected individuals [would]

be coerced by the Government’s action into violating their religious beliefs[,] nor would either

governmental action penalize religious activity by denying any person an equal share of the rights,

benefits, and privileges enjoyed by other citizens.” Id. at 449; see also Trinity Lutheran, 582 U.S. at 460

(reiterating Lyng’s coercion analysis); Mahmoud, 2024 WL 2164882, at *11 (“Supreme Court precedent

requires some sort of direct or indirect pressure to abandon religious beliefs or affirmatively act

contrary to those beliefs.”) (citing Lyng, 485 U.S. at 450). Appreciating the gravity of this conclusion

because the proposed development “would interfere significantly with private persons’ ability to

pursue spiritual fulfillment according to their own religious beliefs,” the Supreme Court nevertheless

made clear that “government simply could not operate if it were required to satisfy every citizen’s

religious needs and desires” because government activities “will always be considered essential to the

spiritual well-being of some citizens, often on the basis of sincerely held religious beliefs.” Lyng, 485

U.S at 452; id. at 453 (“Whatever rights the [Native Americans] may have to the use of the area,

however, those rights do not divest the Government of its right to use what is, after all, its land.”).




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        Accordingly, while NPS’s regulation might interfere with KOC’s religious practice—despite

KOC conducting its Mass elsewhere in previous years—just like in Lyng, KOC has nevertheless failed

to show that its religious practice has been burdened for purposes of the Free Exercise Clause.

                         b. NPS’s Regulation Implements a Neutral and Generally Applicable
                            Requirement Banning all Demonstrations.

        Even if KOC had established a burden to its religious exercise, “[t]he Court’s free exercise

analysis does not end.” Mahmoud, 2024 WL 2164882, at *8. This is because “[n]ot all burdens on

religion are unconstitutional.” Id. (alteration in original) (quoting United States v. Lee, 455 U.S. 252, 257

(1982)). “Under the currently applicable standard set out in Employment Division v. Smith, the Supreme

Court held that ‘laws incidentally burdening religion are ordinarily not subject to strict scrutiny under

the Free Exercise Clause so long as they are neutral and generally applicable.” Id. (quoting Fulton v.

City of Philadelphia, 593 U.S. 522, 533 (2021)). NPS’s regulation, which categorically prohibits

“demonstrations” in all NPS cemeteries is such a neutral, generally applicable regulation.

        To determine whether a law is neutral, this Court “must determine its object.” Alive Church of

the Nazarene, Inc. v. Prince William County, 59 F.4th 92, 108 (4th Cir. 2023) (citing Lukumi, 508 U.S. at

534). Per binding precedent, “[i]f a law has ‘no object that infringe[s] upon or restrict[s] practices

because of their religious motivation,’ then the law is neutral.” Id. (alterations in original) (quoting Liberty

Univ., Inc. v. Lew, 733 F.3d 72, 99 (4th Cir. 2013)).

1.      The neutrality analysis starts, but does not end, with the text of the regulation. Lukumi, 508

U.S. at 533-534. Under this framework, the NPS regulation establishing the categorical prohibition of

all “demonstrations” within the boundaries of a national cemetery is a neutral and generally applicable

regulation. The regulation prohibits all “demonstrations,” whether they include secular- and religious-

based messages. 36 C.F.R. §§ 12.3, 12.4. Indeed, the broad reach of the regulation is plain as it

prohibits “picketing, speechmaking, marking, holding a vigil or religious service, or any other like form

of conduct that involves the communication or expression of views or grievances.” Id. § 12.3
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(emphasis added). This is a religiously neutral regulation, neither favoring one religion over another,

nor favoring comparable secular activity over religious activity, which does not trigger strict scrutiny

under the Constitution. See Tandon v. Newsom, 593 U.S. 61, 62 (2021). Indeed, the core litmus test for

this regulation’s applicability is whether the activity’s principal purpose is to express any views or

grievances and is likely to draw a crowd or onlookers. ECF No. 1-3 2-3; Fulton, 593 U.S. at 533 (strict

scrutiny applies when the regulation “invites the government to consider the particular reasons for a

person’s conduct by providing a mechanism for individualized exemptions” (cleaned up)). The

content of that message, the purpose of the message, and the secular or religious nature of that

message is wholly irrelevant to this determination. EX. 1 ¶ 19 (“I would have denied any permit

request to conduct a demonstration within the Cemetery, regardless of whether or not it was religious

in nature.”). Contrary to KOC’s assertion, there is no set of discretionary exemptions for

“demonstrations,” Mem. at 17, and Fulton’s holding does not apply here. That is especially the case

now that the 2022 guidance clarified that the regulation’s prohibition of “demonstrations” occurring

within a national cemetery applies “without exception.” ECF No. 1-3 at 2. 4

         Though the definition section of NPS’s regulation includes an express mention of “religious

service,” precedent confirms that express textual references to religious practices do not per se trigger



4
  While exceptions are made for “special events,” KOC’s requested activity does not meet this
definition because the purpose of the activity is clearly to express a view or message. As the evidence
shows, NPS has followed the categorical prohibition of “demonstrations” since the guidance
document issued. Indeed, first in 2023 and then this year, NPS only permitted KOC’s Memorial Day
Mass to occur in the First Amendment zone or in an area adjacent to the cemetery. EX. 1 ¶ 18. As
precedent also confirms, it is of no moment that the government course-corrects its policy to prohibit
conduct it once previously allowed. In Griffin, for example, the Fourth Circuit expressly rejected the
district court’s underlying factual finding that the confederate flag “had flown for several years at [the
cemetery] (until the [government] became aware of it), apparently without incident,” such that it would
be unreasonable for the government to change course and enforce its regulation because the “First
Amendment does not preclude the [government] from taking steps to preserve the nature of this
nonpublic forum.” 274 F.3d 818, 823 (4th Cir. 2001) (collecting cases). In Lyng too, the land went
undisturbed for a “long time” and the government changed its course, and yet that did not offend the
Constitution let alone require a tiers of scrutiny analysis. 485 U.S. at 450-451.
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strict scrutiny. Alive Church of the Nazarene, 59 F.4th at 110; Legacy Church, Inc. v. Kunkel, 472 F. Supp.

3d 926, 1033 (D.N.M. 2020) (“Moreover, that a law mentions religion does not necessarily mean that

the law is facially nonneutral.”). In Alive Church of the Nazarene, the Fourth Circuit expressly declined

“to infer from the fact that the Ordinance explicitly require[d] religious institutions—along with 34

other nonreligious land uses—to obtain [a permit]” as a basis for heightened scrutiny given the clear

object of the Ordinance was “anything other than the one expressly stated therein.” 59 F.4th at 110

(emphasis added). There, as here, the text’s reference to religion only serves to underscore that all

expressive activity is encompassed by the regulation and as such, it is a facially neutral one. See also

Hines v. S.C. Dep’t of Corr., 148 F.3d 353, 357 (4th Cir. 1998) (“If the law makes no distinction between

action based on religious conviction and action based on secular views, it is a generally applicable law,

neutral toward religion and not violative of the First Amendment.”).

        KOC sees it differently. In its view, the “policy allows an incredible amount of secular conduct

that works against its purported interest.” Mem. at 18. This misses the mark in key respects. As an

initial matter, KOC has not argued (and cannot argue) that this regulation treats secular and religious

“demonstrations” any differently, thereby confirming that all prohibited demonstrations, secular and

religious alike, are treated equally. First, in conflating the definitions of “demonstrations” and “special

events,” KOC begins from a flawed premise. Next, KOC overlooks that the activities that constitute

“special events” (e.g., sport events, parades, fairs, festivals, etc.) can be religious in nature. Special events

are not limited, as KOC appears to suggest, to just “secular conduct.” See Mem. at 18. Nothing in the

regulation or guidance requires a permitted “special event” to be secular. 36 C.F.R. § 12.3. Further,

“Special Events” also require NPS co-sponsorship, placing the government in the role as a speaker.

Griffin, 274 F.3d at 822; see also Rosenberger v. Rector, 515 U.S. 819, 833 (1995); ECF No. 1-3 at 3

(instructing Superintendents that they “should not consider the content of any communication that is

part of the activity” when making “special events” determinations). Once again, this underscores the

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evenhanded nature of the regulation: it does not favor one religion over another and does not favor

secular special events over religious ones. Finally, KOC again ignores key regulatory provisions—just

because a “special event” is permitted in a national cemetery, the special event must nevertheless be

allowed by the Superintendent. 36 C.F.R. § 12.4. As relevant here, the 2022 guidance memorandum

also expressly prohibits Superintendents from sponsoring “an event that . . . that is not compatible with

maintaining the solemn commemorative and historic character of the national cemetery.” ECF No.

1-3 at 4. This assures that NPS’s interests are furthered when a special event is authorized and

comports with the sponsored events at the Cemetery (Memorial Day, Veteran’s Day, and a wreath

laying in December) by the NPS that clearly further its interest in preserving the solemn atmosphere

of the cemetery. See EX. 1 ¶¶ 6-9.

        All told, regulations like these are neutral for purposes of the Free Exercise Clause. Maryville

Baptist Church, Inc. v. Beshear, 957 F.3d 610, 614 (6th Cir. 2020) (holding that referencing “‘faith-based’

mass gatherings” in Governor’s order “does not suffice by itself to show that the Governor singled

out faith groups for disparate treatment”); Thai Meditation Assoc of Ala., Inc. v. City of Mobile, 980 F.3d

821, 825-26, 833-34 (11th Cir. 2020) (holding zoning ordinance was facially neutral despite requiring

a “church or religious facility” to obtain approval before locating in a residential district, because the

ordinance did not “single out” churches “for unfavorable treatment”; “rather, [the ordinance] lumps

them in with other non-religious entities in requiring planning approval for projects in residential

districts”); Lighthouse Fellowship Church v. Northam, 458 F. Supp. 3d 418, 429 (E.D. Va. 2020) (holding

that Governor’s Order prohibiting mass gatherings, which included “religious” events was facially

neutral because it “prohibit[ed] all social gatherings of more than ten individuals, secular and

religious”); Tigges v. Northam, 473 F. Supp. 3d 559, 571 (E.D. Va. 2020) (Gibney, J.) (holding similar to

Lighthouse). For purposes of the Free Exercise Clause, NPS’s regulation is therefore facially neutral and

generally applicable based on its text alone.

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2.      Continuing past the text, there no evidence that the “effect of [the] law in its real operation”

targets KOC’s religious beliefs or religious practices. Lukumi, 508 U.S. at 535. Though KOC maintains

the Mass is “being prohibited from the National Cemetery due to its religious character, Mem. at 17,

the evidence does not support that finding. KOC’s own documents themselves make no mention of

the rationale for the Superintendent’s decisions. See ECF No. 1-2, ECF No. 1-6. Rather, because the

activity described in KOC’s permitting request met the regulatory definition of “demonstration,” NPS

determined that KOC could only be permitted to conduct its activity adjacent to the Cemetery. EX.

1 ¶¶ 17-18.

        Further, NPS promulgated this regulation for the purpose of preserving the atmosphere of

tranquility, which emerged following its agreement to take over management of these cemeteries from

the Department of Veterans Affairs and the need to update and standardize operations and procedures

across all 14 national cemeteries. See 51 Fed. Reg. 8976-77; EX. 3 ¶¶ 3-4. The regulatory history,

inclusive of the recent 2022 guidance memorandum, shows that the categorical prohibition of

“demonstrations” did not emerge in response to or out of concern of KOC’s religious practices. See

EX. 3 ¶¶ 3-9. As the evidence shows, the need for clarifying that the regulations established a

categorical prohibition on “demonstrations” emerged in the wake of “several permitted and

unpermitted Ku Klux Klan events” that occurred at Gettysburg National Military Park and based on

observations from NPS officials that the “parks were not consistently following the regulations in

managing activities within National Cemeteries.” EX. 3 ¶¶ 5-9. Notably, KOC does not (and cannot)

contend that the historical record, starting with the promulgation of the regulations in 1986 and

continuing through the issuance of the guidance memorandum in 2022, was done out of religious-

based animus. All this confirms that strict scrutiny has not been triggered. See Lukumi, 508 U.S. at 526,

535 (holding facially neutral statute was unconstitutional given the evidence that it was enacted based

upon the expressly cited concerns with the Santeria’s practice of sacrificial animal killings). Moreover,

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nothing in the record evinces any faith-based animus by NPS officials, further highlighting that strict

scrutiny is not warranted here. See Masterpiece Cakeshop, Ltd. v. Colo. Civil Rts. Comm’n, 584 U.S. 617, 636

(2018) (applying strict scrutiny where adjudicatory record showed comments evidencing a hostility to

faith practices that went uncorrected and unaddressed by subsequent reviewing officials once made).

        All told, the evidence shows that, at most, this regulation might impact KOC’s preferred site,

but it “does so ‘in spite of’ and not ‘because of those [individuals’] religious reasons.” Kim v. Bd. of

Educ. of Howard Cnty., 93 F.4th 733, 748 (4th Cir. 2024) (holding that Maryland statute limited pool of

student school board members to students who only attended public schools, which equally excluded

students attending either private-secular or private-religious schools from eligibility, was a “neutral

and generally applicable government action”).

3.      Thus, as a neutral and generally applicable regulation, 36 C.F.R. § 12.4 does not offend the

Free Exercise Clause. Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 424 (2006).

The regulation is therefore only subject to rational basis review, Mahmoud, 2024 WL 2164882, at *8,

which it easily clears. Prohibiting all demonstrations furthers the government’s interest in maintaining

a national cemetery’s protective atmosphere of “peace[,] calm, tranquility and reverence” such that

“individuals can quietly contemplate and reflect upon the significance and contributions made to the

nation by those interred.” 51 Fed. Reg. at 8977; see also Oberwetter v. Hilliard, 639 F.3d 545 (D.C. Cir.

2011) (noting government’s interest in “promoting a tranquil environment at our national

memorials”); Griffin v. Dep’t of Veterans Affs., 274 F.3d 818, 821 (4th Cir. 2001) (reversing district court

which enjoined Veterans Affairs from enforcing its regulation limiting the confederate flag to be

displayed for no more than two days per year, and otherwise only permitting the American flag to be

flown because that regulation further the government’s purpose “to honor, as Americans, in tranquil

and nonpartisan surroundings, those who have given their lives to the Nation”). NPS’s intended goal

for the Cemetery, like other national cemeteries, is to promote an atmosphere of silence and

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reverence—permitting demonstrations of any kind undermines that objective. Therefore, KOC is not

likely to succeed on its Free Exercise claim.

                2.      KOC Is Unlikely to Succeed on Its RFRA Claim.

        KOC is not likely to succeed on its claim for relief under RFRA either. Enacted in 1993, RFRA

prohibits the Federal Government from substantially burdening a person’s exercise of religion unless

the government demonstrates that application of the burden furthers a compelling government

interest and is the least restrictive means of furthering that compelling government interest. 42 U.S.C.

§ 2000bb-1; Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 694-95 (2014). KOC’s RFRA claim, like

its Free Exercise claim, fails to establish a key showing for all RFRA claims: that the challenged

government action places a substantial burden on its free exercise of religion. And even if KOC

established a substantial burden to its exercise of religion, the NPS regulation is narrowly tailored to

advance the government’s compelling interest in protecting the solemn atmosphere of the Cemetery.

                        a. There Is No Burden or Substantial Burden to KOC.

        RFRA restored, as a matter of federal statutory right, the broader protection of religious

exercise exemplified in the Supreme Court’s earlier decisions in Sherbert v. Verner, 374 U.S. 398 (1963)

and Wisconsin v. Yoder, 406 U.S. 205 (1972). 42 U.S.C. § 2000bb(b)(1). In Sherbert, the Court held that

South Carolina’s denial of unemployment benefits to a Seventh-Day Adventist fired for refusing to

work on Saturdays placed “the same kind of burden upon the free exercise of religion as would a fine

imposed against [her] for her Saturday worship,” 374 U.S. at 404, and that no compelling governmental

interest justified imposing that burden. Id. at 406-407. And in Yoder, the Court held that no sufficient

State interest justified Wisconsin’s compulsory schooling law, which “unduly burden[ed]” the religious

exercise of Amish parents and children by “compel[ling] them, under threat of criminal sanction, to

perform acts undeniably at odds with fundamental tenets of their religious beliefs.” Yoder, 406 U.S. at

218, 220. RFRA reinstates the Sherbert/Yoder test legislatively.


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        As part of any RFRA claim, a plaintiff must establish that the government exercised the

coercive power of the state against the plaintiff to deter or punish the conduct constituting the

plaintiff’s religious exercise; RFRA does not, as KOC suggests, inquire how seriously the government’s

action offends or conflicts with the plaintiff’s religious exercise. See Mem. at 12; see, e.g., Liberty Univ.,

733 F.3d at 100 (examining whether plaintiff met showing that healthcare mandate required by the

Affordable Care Act caused “substantial pressure on an adherent to modify his behavior and to violate

his beliefs” and holding they could not because they could comply with statute by paying the tax).

        As Liberty University and Supreme Court precedent confirm, this assessment is not based on

whether the conflict with one’s religious exercise was severe, significant or substantial, but whether the

consequences resulting from the ensuing violation issued by the government are. Burwell, 573 U.S. at 726

(“Because the contraceptive mandate forces them to pay an enormous sum of money . . . if they insist

on providing insurance coverage in accordance with their religious beliefs, the mandate clearly imposes

a substantial burden on those beliefs.”); Holt v. Hobbs, 574 U.S. 352, 361 (2015) (“If petitioner

contravenes the policy and grows his beard, he will face serious disciplinary action.”). Considering this

jurisprudence, and Congress’s general intent to restore the jurisprudence to before Smith, the

coercion/burden principles that pre-date Smith are also still captured by RFRA’s enactment. See Apache

Stronghold v. United States, 2024 WL 2161639, at *18-20 (9th Cir. May 14, 2024) (en banc) (“Accordingly,

RFRA’s understanding of what counts as substantially burdening a person’s exercise of religion must

be understood as subsuming, rather than abrogating, the holding of Lyng. That holding therefore

governs [plaintiff’s’] RFRA claim as well . . . .”).

        And recently, the Fourth Circuit just confirmed that “[b]efore Smith” (i.e., the jurisprudential

framework RFRA adopted), the Supreme Court required “plaintiffs to show that a challenged

government action ‘substantial[ly] burden[ed] religious exercise.” Mahmoud, 2024 WL 2164822 at *9

n.12 accord Am. Life League, Inc. v. Reno, 47 F.3d 642, 655 n.6 (4th Cir. 1995). Accordingly, Lyng (a pre-

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Smith decision) is part of the RFRA framework, and as discussed at lengthy above, the Supreme Court

there held that the Native American tribes did not meet that threshold burden showing. 485 U.S. at

450-51. All told, if there is no burden to KOC’s religious exercise, it follows a fortiori, that there can

be no substantial burden to one’s exercise of religion. Therefore, KOC it not likely to succeed in

establishing a “substantial burden” on its religious exercise within the meaning of RFRA.

         But even assuming KOC has shown there is a burden of some degree to its religious exercise,

it is not a substantial one. In making that assessment, courts examine how the plaintiff has been

practicing their faith in the absence of the challenged government action. See, e.g., Godbey v. Wilson,

2014 WL 794274, at *8 (E.D. Va. Feb. 26, 2014) (Ellis, J.) (“Thus, because plaintiff has never practiced

Asatru other than by using non-alcoholic mead and restricting the wearing of his hlath only to religious

services, the policies at issue cannot have compelled him to modify his behavior.”); Bermea-Cepeda v.

Chartier, 2012 WL 2366437, at *4 (D.S.C. May 8, 2012) (“Plaintiff concedes he has been told he has

access to personal religious and devotional materials and has been able to individually practice his

religion in his cell.”).

         As the evidence here shows, there have been years in which KOC has not held a Mass within

the Cemetery. Indeed, just last year the Mass was held indoors at KOC’s Council Home due to the

weather, ECF No. 1-10 at 5, and in 2016, KOC planned to host its Mass in a state cemetery until it

relocated the event to its Council Home to due weather, EX. 4. Even KOC acknowledges that, when

the cemetery was “closed for renovations,” the group did not hold a Mass within the Cemetery. Mem.

at 12. 5 Thus, it cannot be said that the challenged regulation compels or otherwise coerces KOC to

surrender its religious beliefs. Whether because of cemetery renovations or bad weather, KOC has

adjusted its practice to conduct Masses elsewhere, thereby underscoring that NPS’s regulation has not


5
 KOC does not appear to have made any challenge to NPS’s decision to renovate the cemetery or to
have previously contended that NPS was required to reserve part of the Cemetery to ensure the Mass
could continue notwithstanding the renovations.
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otherwise compelled KOC to surrender its beliefs or face significant consequences. Though KOC

notes these were decisions to “cut their losses,” Mem. at 13, caselaw is nevertheless clear that the

challenged regulation is not otherwise compelling or coercing a violation of their beliefs. See, e.g.,

Godbey, 2014 WL 794274, at *8; Bermea-Cepeda, 2012 WL 2366437, at *4.

                          b. NPS’s Regulation Furthers a Compelling Government Interest that
                             is Narrowly Tailored and Thus Survives Strict Scrutiny.

        “To pass the [strict scrutiny] test a law must be necessary to serve compelling governmental

interests by the least restrictive means available.” Am. Life League, Inc., 47 F.3d at 648. Whether

“something qualifies as a compelling interest is a question of law.” McRae v. Johnson, 261 F. App’x 554,

557 (4th Cir. 2008); accord Roman Catholic Bishop of Springfield v. City of Springfield, 724 F.3d 78, 93 (1st Cir.

2013); Sabir v. Williams, 52 F.4th 51, 62 (2d Cir. 2022). As caselaw shows, the government can advance

compelling interests in the context of RFRA and Religious Land Use and Institutionalized Persons

Act (“RLUIPA”) claims based on the needs of structures and impacts on the surrounding area. See,

e.g., St. John’s United Church of Christ v. City of Chicago, 502 F.3d 616, 634 (7th Cir. 2007) (holding that

expansion of airport furthered a compelling interest regarding air transportation in the region); WTC

Families for a Proper Burial, Inc. v. City of New York, 567 F. Supp. 2d 529, 540-541 (S.D.N.Y. 2008)

(holding government interest in efficiently and economically sifting through the debris caused by the

fall of the World Trade Centers on September 11, 2001 was compelling interest).

        NPS has advanced a compelling interest for the categorical prohibition of “demonstrations”

within national cemeteries: ensuring the continued maintenance of a “protected atmosphere” of

“peace[,] calm, tranquility, and reverence” such that “individuals can quietly contemplate and reflect

upon the significance of the contributions made to the nation by those interred.” 51 Fed. Reg. at 8977;

ECF No. 1-2 at 1. Absent the advancement of this interest, national cemeteries become overwhelmed

by any and all activities, losing their desired environment of serenity and reverence. Oberwetter, 639

F.3d at 552 (“National memorials are places of public commemoration, not freewheeling forum for
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open expression, and thus the government may reserve them for purposes that preclude expressive

activity.”). KOC appears to agree with this analysis. See Mem. at 14. 6 KOC concedes that it “do[es]

not need to litigate” whether the advanced interest is compelling given that “they too wish to promote

an atmosphere of quiet contemplation and reflection in the National Cemetery.” Mem. at 14. To

further this compelling interest, NPS granted KOC’s request with a narrowly tailored modification.

That is, NPS permitted KOC’s “demonstration” in an area adjacent to the cemetery’s boundaries—

especially considering that the requested demonstration contemplated approximately 45 people,

enough cars to more than fill the cemetery’s entire parking lot, a tent, chairs, and a Bluetooth speaker

for sound amplification. EX. 1 ¶ 15. That alternative was meaningful given that NPS officials

understood, and the evidence also confirms, that KOC observed its sincerely held beliefs to hold a

Memorial Day Mass in locations other than inside the Cemetery. EX. 1 ¶ 18.

         Resisting this conclusion, KOC first notes that “[t]here is certainly no substantial difference

between their [requested Mass] and a graveside committal service.” Mem. at 14. While the regulations

permit committal services as a general matter to occur, 36 C.F.R. § 12.4, committal services no longer

occur at the Cemetery as it is no longer an active cemetery. EX. 1 ¶ 4. Thus, this argument is

inapplicable as applied to the Cemetery and any inactive national cemetery. See 51 Fed. Reg. at 8976.

         Next, KOC cites the fact that its Memorial Day Mass has continued in the cemetery for

“almost 40 years”—notwithstanding instances when the Mass was held elsewhere—as another basis

that strict scrutiny is in applicable. Mem. at 15. True enough; KOC’s Memorial Day Mass appears to

have occurred in the past. But unless NPS uniformly enforces a categorical ban on demonstrations, it

otherwise exposes itself to the prior regime the guidance memorandum sought to eliminate—



6
 It is of course of no moment that NPS, nearly 40 years ago, described its interest as “substantial” in
the promulgation overview. 51 Fed. Reg. at 8977. If an interest is “compelling” it is necessarily
substantial in nature, and NPS’s choice of word does not change this Court’s constitutional and/or
RFRA analysis.
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inconsistent determinations concerning permitted and unpermitted demonstrations. EX. 3 ¶¶ 7-8.

And this is a weighty and compelling concern, because whether viewed from a Free Exercise or Free

Speech perspective, ad hoc exceptions for any one particular group lead to the perception (or

conclusion) that NPS is engaging in viewpoint discrimination—favoring one message (and in this

instance a religious one) over another. To avoid that outcome and continue to preserve the compelling

interest of an atmosphere of silence and reverence, only a categorial ban of “demonstrations” is

narrowly tailored to suit that need. Griffin, 274 F.3d at 824 (citing Int’l Soc. for Krishna Consciousness, Inc.

v. Lee, 505 U.S. 672, 685 (1992)). For if KOC “is given access, so too must other groups.” Int’l Soc. for

Krishna, 505 U.S. at 685 (upholding regulation ban on solicitation in airport terminals against not-for-

profit religious corporation who challenged the regulation through a Free Speech claim); accord Heffron

v. Int’l Soc. for Krishna Consciousness, Inc., 452 U.S. 640, 654 (1981).

        In sum, NPS’s decision to permit Plaintiff to conduct its demonstration adjacent to the

cemetery was narrowly tailored and advanced a compelling interest. KOC’s RFRA claim is therefore

not likely to succeed on the merits.

                 3.       KOC Is Unlikely to Succeed on Its APA and Free Speech Claims.

        In a few throw away lines, KOC proclaims that it has “strong merits claims” under the APA

and for a purported violation of the Free Speech Clause. Mem. at 19. Of course, the standard for the

extraordinary and disfavored relief of a mandatory injunction is not based on the party’s assertion they

have “strong claims,” but on actual evidence. Mahmoud, 2024 WL 2164882, at *6. Given that KOC has

not devoted much attention to these claims, Defendants will likewise provide a brief explanation as to

why KOC is not ultimately likely to succeed on the merits of these claims.

        APA Claims. As to the APA claims, it is KOC’s burden to show that the NPS’s permitting

decision was arbitrary, capricious, or contrary to law. Platone v. U.S. Dep’t of Labor, 548 F.3d 322, 326

(4th Cir. 2008). Here, NPS determined that KOC requested to engage in a categorically prohibited


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“demonstration” within the meaning of its regulations. EX. 1 ¶¶ 17-18; 36 C.F.R. §§ 12.3, 12.4. As

part of that determination, NPS concluded that KOC’s requested activity involved a communication

or expression of views and was likely to draw onlookers. EX. 1 ¶ 18; ECF No. 1-3 at 3. It is not

seriously disputed that the entire purpose of a Catholic Mass is to convey a view or message. Even

KOC has not contested that conclusion; instead focusing its argument on the fact that regulation

expressly listed “religious service” as a type of “demonstration.” Mem. at 9-10. Moreover, as the recent

guidance memorandum highlights, “the use of amplification and structures, such as stages, creates a

presumption that an activity is reasonably likely to attract a crowd or onlookers.” ECF No. 1-3 at 3.

And KOC’s request included, among other things, “a tent, a Bluetooth speaker for sound

amplification, [and] 50 chairs.” EX. 1 ¶ 15. Thus, under the regulation, KOC’s request fell subject to

the presumption that it had to overcome. Moreover, NPS determined, given the requested items and

anticipated crowd size, that it was nevertheless reasonable that the activity was going to cause

onlookers or draw a crowd. See EX. 1 ¶ 18. Given that “substantial evidence”—that is, “evidence as a

reasonable mind might accept as adequate to support a conclusion” supports NPS’s determination,

the agency’s decision may not be disturbed on APA review. Platone, 548 F.3d 322. Finally, for the

reasons discussed herein, NPS’s determination is not otherwise in violation of federal law or the

Constitution. Accordingly, KOC is not likely to succeed on its APA claim.

       Free Speech Claim. Undoubtedly, the Cemetery is a nonpublic forum, and thus NPS may

place any reasonable and viewpoint-neutral restriction on speech that furthers the purpose of that

forum. Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 800, 806 (1985). Here, the

purpose of this forum, a national cemetery, is to honor America’s gallant war heroes. Griffin, 274 F.3d

at 821; see also Oberwetter, 639 F.3d at 552 (holding that public memorials are nonpublic forums). The

Cemetery is not intended for open public access and expression. Thus, if NPS’s regulations are

viewpoint neutral and reasonable in light of the forum, there is no violation of the Free Speech Clause

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of the First Amendment. Griffin, 274 F.3d at 822. Under this “deferential” standard, NPS’s speech

restrictions, “need not be the most reasonable or the only reasonable limitation.” Id. at 822. NPS’s

regulations meet this standard. As clarified by the 2022 guidance, NPS’s regulations and their

application promote an intended message (silence) within a forum that is designated to maintain an

“atmosphere of peace, calm, tranquility, and reverence.” ECF No. 1-3 at 1. Moreover, eliminating all

demonstrations and special events, with the exceptions of those three dates identified by the

Cemetery’s superintendent reasonably furthers that interest. EX. 1 ¶¶ 6-9. Per precedent, this is a

reasonable regulation furthering NPS’s interests. Griffin, 274 F.3d at 824.

        B.      Factor 2: KOC cannot show it will be irreparably harmed absent an injunction.

        The Supreme Court’s “frequently reiterated standard requires plaintiffs seeking preliminary

relief to demonstrate that irreparable injury is likely in the absence of an injunction.” Winter, 555 U.S.

at 22 (emphasis added). Conclusory or speculative allegations do not establish a likelihood of

irreparable harm. Direx Israel, Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991); see also

Scotts Co. v. United Indus. Corp., 315 F.3d 264, 283 (4th Cir. 2002) (“The plaintiff must make a clear

showing of irreparable harm and the required irreparable harm must be neither remote nor speculative,

but actual and imminent.”). Courts have also recognized that irreparable harm does not exist where

plaintiffs allege harms to their ability to hold events or communicate ideas, but where there are

alternative forums are made available to those same plaintiffs. See, e.g., Johnson v. City & Cnty. of

Philadelphia, 2008 WL 1776421, at *2 (E.D. Pa. Apr. 18, 2008) (holding a lack of irreparable harm

where plaintiff was prohibited from putting in posters in certain locations but could post posters in

other locations and had “alternative relatively inexpensive forms of communication”); Am. Future Sys.,

Inc. v. Pennsylvania State Univ., 510 F. Supp. 983, 988 (M.D. Pa. 1981) (“The Court fails to see how

regulations that merely control the location of an activity constitute irreparable harm since the

Plaintiffs are free to conduct the activities they wish at other locations in close proximity to the

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residence halls.”).

        Here, KOC suffers no irreparable harm because NPS issued it a permit to hold services on

NPS land just outside of the Cemetery’s walls. Thus, while KOC may not hold its gathering in the

exact location KOC held its gathering prior to 2023, it can nonetheless hold a ceremony still just

outside the gates of, and on the approaches to the cemetery. This alternative location for

worshiphighlights that irreparable harm is lacking. See, e.g., Stewart v. City & Cnty. of San Francisco,

California, 608 F. Supp. 3d 902, 918 (N.D. Cal. 2022) (holding “that plaintiffs fail[ed] to demonstrate

irreparable harm . . . given the . . . alternative means available for worship”). While KOC suggests that

the alternative location is not an adequate substitute and that the service they seek to hold must be

held within the sacred ground of the cemetery, KOC provides no further assertion for this point or

why the alternative location is not an adequate substitute. See Talleywhacker, Inc. v. Cooper, 465 F. Supp.

3d 523, 543 (E.D.N.C. 2020) (“bare assertion” insufficient to obtain injunctive relief).

        For one, the alternative location is directly next to the Cemetery, allowing KOC to hold the

kind of memorial honoring and praying for soldiers that it would like. For another, the available record

suggests that KOC itself has engaged in conduct indicating that it does not believe its ceremony must

be held in the sacred ground of the Cemetery. Indeed in 2023 when KOC was authorized to hold a

service at the same location as they are now, KOC elected to hold its Mass at its Council Home, and

during years in which the Cemetery was under renovation, KOC had previously held services

elsewhere. See Omega World Travel, Inc. v. Trans World Airlines, 111 F.3d 14, 16 (4th Cir. 1997) (“[A]

preliminary injunction may never issue to prevent an injury or harm which not even the moving party

contends was caused by the wrong claimed in the underlying action.”). Presumably if KOC truly

suffers irreparable harm from not holding its services in the Cemetery, it would not have held services

elsewhere in the past or taken action to ensure it could hold services during the renovation, and yet

KOC took neither action. Furthermore, it is not clear why KOC believes the specific ground in the

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Cemetery must be the location for its services given that KOC has previously proposed holding its

Memorial Day ceremony at a different state cemetery. See EX. 4.

        For its part KOC puts the cart before the horse and claims it suffers “irreparable injury per se”

because it has shown a loss of First Amendment freedoms. Mem. at 19-20. But, as discussed herein,

KOC cannot show a violation of the Free Exercise Clause or RFRA, and it barely even argues that

the viewpoint-neutral application of NPS’ regulations in a nonpublic forum violates the Free Speech

Clause. See id. at 19. Moreover, KOC’s ability to still hold its Mass adjacent to the Cemetery—just not

physically in front of a gravesite—and its willingness to hold its Mass elsewhere highlights that there

have been no grave loss of First Amendment freedoms. Indeed, KOC’s cited cases for the loss of

constitutional freedom are glaringly inapposite. Cf. Elrod v. Burns, 427 U.S. 347, 360 (1976) (involving

the “practice of patronage dismissals” where public employees were fired for not supporting a

particular political party); Singh v. Berger, 56 F.4th 88, 110 (D.C. Cir. 2022) (involving an instance where

plaintiffs could not join the Marine Corps without shaving their hair in violation of their Sikh beliefs);

Leaders of a Beautiful Struggle v. Baltimore Police Dep't, 2 F.4th 330, 346 (4th Cir. 2021) (involving a Fourth

Amendment violation where an aerial surveillance program invaded privacy interests could “reveal

where individuals come and go over an extended period”).

        Thus, KOC cannot show irreparable harm as it has an alternative, immediately adjacent forum

for holding its services at the Cemetery, and its own prior conduct evinces the point that KOC was

not harmed in the past by holding its services in areas not even adjacent to the Cemetery. See also

Benisek v. Lamone, 585 U.S. 155, 159 (2018) (holding a party was not entitled to a preliminary injunction

where it filed suit long after it became aware of a policy it disagreed with).

        C.       Factors 3 & 4: The balance of equities and the public interest favor Defendant.

        Finally, to be entitled to the preliminary injunctive relief they seek, KOC must show that the

balance of equities tips in its favor and that an injunction is in the public interest. Where, as here, the

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injunctive relief is sought against the federal government and implicates a matter of great public

interest such as the interest of the federal government in the maintenance and solemnity of national

grave sites, these two factors overlap and may be considered together. Nken v. Holder, 556 U.S. 418,

436 (2009). Here, the balance of the equities and the public interest favor the government. As courts

have observed in analogous circumstances, “[p]reserving national park areas for noncommercial

activity, public enjoyment, and wildlife protection is a paramount public interest.” San Francisco Herring

Ass’n v. United States Dep’t of the Interior, 2014 WL 172232, at *7 (N.D. Cal. Jan. 15, 2014); see also

Washington Tour Guides Ass'n v. Nat'l Park Serv., 808 F. Supp. 877, 880 (D.D.C. 1992). Here, the public

interest is even higher than in general park land—maintaining a protected atmosphere of peace, calm,

tranquility and reverence in a national cemetery by NPS ensuring that no demonstrations take place

in that cemetery, and in maintaining the status of the Cemetery as a nonpublic forum rather than

opening it to every from of demonstration and protest.

        That interest is particularly amplified here where KOC seeks to hold an event numbering some

45 people with audio equipment and other equipment that would undoubtedly affect that atmosphere.

As courts have observed in like circumstance with the NPS, NPS has weighty interests in maintaining

its parks and spaces and safeguarding them when weighed against members of the public who wish

to use those same spaces in a manner that compromises that maintenance. See Ketcham v. U.S. Na’'l

Park Serv., 2016 WL 4269037, at *6 (D. Wyo. Feb. 5, 2016) (holding that the public interest favored

NPS closing off the public’s access to observe bison culling activities given NPS’s interest in preserving

order and safety in a park); see also Cmty. for Creative Non-Violence v. Watt, 1982 WL 3915, at *13 (D.D.C.

Dec. 9, 1982) (“We also conclude that the public interest and the interest of defendants in

administering the national park areas outweigh any interests invoked by plaintiffs in support of their

motion for a preliminary injunction.”). Indeed, the Fourth Circuit itself has recognized the

government’s interests in imposing restrictions in a national cemetery, noting such restrictions may be

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warranted “in light of the nature of the particular forum, a cemetery dedicated to honoring, as

Americans, the Nation’s war dead.” Griffin, 274 F.3d at 824; see also id. at 821 (“We agree with the VA

that [the cemetery’s] purpose is to honor, as Americans, in tranquil and nonpartisan surroundings,

those who have given their lives to the Nation.”).

        In its Memorandum, KOC again gets ahead of itself and trots out the argument that the public

interest favors an injunction because it is certainly going to be successful on its claims. Mem. at 21. As

previously noted, KOC is not likely to succeed on the merits of its claims. KOC at best argues that its

injunction “preserv[es] the status quo ante” whereby KOC was allowed to hold its Mass in front of the

grave sites at the Cemetery in previous years. Mem. at 20. That was not the status quo ante, however.

As courts have explained, “[t]he ‘status quo’ for purposes of classifying the nature of an injunction is

the ‘last uncontested status between the parties which preceded the controversy.’” Handsome Brook

Farm, LLC v. Humane Farm Animal Care, Inc., 193 F. Supp. 3d 556, 566 (E.D. Va. 2016) (quoting Aggarao

v. MOL Ship Mgmt. Co., 675 F.3d 355, 378 (4th Cir. 2012)). And in the instant case, the status quo ante

before this lawsuit and KOC’s complaints regarding its 2024 permit was NPS’s previous decision in

2023 to allow KOC to hold its activity adjacent to the cemetery—a decision KOC did not dispute or

challenge at the time. Thus, KOC’s sought injunction does not preserve any existing status quo

between the parties but seeks to require affirmative relief and preclude NPS from applying its

regulation. See Clear Channel Outdoor, Inc. v. City of New York, 608 F. Supp. 2d 477, 492 (S.D.N.Y. 2009)

(“Plaintiffs seek to alter the status quo by preventing the City from enforcing a duly enacted

regulation”). Thus, these separate factors support denying KOC’s motion for a preliminary injunction.

                                           CONCLUSION

        For the foregoing reasons, Defendants respectfully request that the Court deny KOC’s

Motion for Preliminary Injunction.

Dated: May 22, 2024                                      Respectfully submitted,

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